Case 1:06-cr-00254-JHR   Document 28       Filed 01/09/09    Page 1 of 5 PageID: 84



                    UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

                                  :
                                  :         HONORABLE JOSEPH E. IRENAS
UNITED STATES OF AMERICA          :
                                  :    CRIMINAL ACTION No. 06-254 (JHR)
     v.                           :
                                  :
JAMES WILLIAMS                    :                         OPINION
                                  :

APPEARANCES:

Troy A. Archie, Esq.
Old Firehouse #6
339 Front Street, Suite A
Camden, NJ 08102
     Counsel for Defendant James Williams

Philip James Degnan, Esq.
Office of the United States Attorney
970 Broad Street, Suite 700
Newark, NJ 07102
     Counsel for the United States of America

IRENAS, Senior District Judge:

     Before the Court is Defendant James Williams’s Motion for

Reduction of Sentence Pursuant to 18 U.S.C. § 3582(c)(2).                   For

the reasons that follow, the Court will grant his Motion.

                                      I.

     In March 2006, James Williams (“Williams”) pled guilty to

one count of distribution and possession with intent to

distribute five grams or more of crack cocaine in violation of 21

U.S.C. §§ 841(a)(1) and (b)(1)(B).           In determining Williams’s

sentence, the Court held him accountable for five to twenty grams

of crack cocaine, pursuant to a stipulated plea agreement between

Williams and the Government.      That quantity of crack cocaine
 Case 1:06-cr-00254-JHR     Document 28       Filed 01/09/09   Page 2 of 5 PageID: 85



corresponded to a base offense level (“BOL”) of 26 under the

then-applicable version of the United States Sentencing

Guidelines (“Guidelines”).1         After a two level upward adjustment

for possession of a firearm and a three level downward adjustment

for acceptance of responsibility, the Court determined the

applicable total offense level (“TOL”) was 25.                  Based on

Williams’s criminal history, the Court identified the applicable

criminal history category (“CHC”) as IV.

      For offenders with a TOL of 25 and a CHC of IV, the advisory

guideline range of imprisonment was 84 months to 105 months.                      In

assessing the appropriate sentence for Williams’s conduct, the

Court considered all of the factors set forth under 18 U.S.C. §

3553(a).      On August 25, 2006, the Court sentenced Williams to an

84 month term of imprisonment to be followed by a four year term

of supervised release.         Williams now moves for a reduction in his

sentence pursuant to 18 U.S.C. § 3582(c)(2).

                                       II.

                                        A.

      Under 18 U.S.C. § 3582(c)(2), the Court may reduce the term

of imprisonment imposed upon a Defendant “based on a sentencing

range that has subsequently been lowered by the Sentencing

Commission . . . if such a reduction is consistent with



      1
          The applicable version of the Sentencing Guidelines were those
effective as of November 1, 2005.

                                          2
 Case 1:06-cr-00254-JHR   Document 28       Filed 01/09/09   Page 3 of 5 PageID: 86



applicable policy statements issued by the Sentencing

Commission.”    United States v. Williams, 282 F.App’x 119, 122 (3d

Cir. 2008) (quoting 18 U.S.C. § 3582(c)(2)).                 On November 1,

2007, the Sentencing Commission adopted Amendment 706 to the

Guidelines, the general effect of which is “to decrease by two

levels the base offense levels for crack cocaine offenses.”                    Id.

at 121 (quoting United States v. Wise, 515 F.3d 207, 219 (3d Cir.

2008)).   “Amendment 706 became retroactive as of March 3, 2008.”

Id.   The granting of a sentence reduction to an eligible

defendant pursuant to § 3582(c)(2) “is not an automatic right . .

. but rather a matter subject to the sentencing court’s

discretion.”    United States v. Robinson, Crim. No. 06-34 Erie,

2008 WL 2578043, at *2.      (W.D. Pa. Jun. 26, 2008).

                                     B.

      In this case, the Government agrees that Williams is

eligible for a sentence reduction. (Gov’t Br. at 1.)                  Williams

and the Government are also in agreement that his recalculated

TOL is 23.    (Def. Br. at 2; Gov’t Br. at 3.)               For an offender

with a TOL of 23 and a CHC of IV, the guidelines advise

incarceration for a term of 70 to 87 months.2

      The Court originally sentenced Williams to a prison term of



      2
         Williams argues that the guidelines advise incarceration for a term
of 51-63 months for an offender with a TOL of 23. (Def. Br. at 5.) For an
offender with a TOL of 23 and a CHC of II, the Guidelines indeed advise
incarceration for a term of 51-63 months. However, Williams’s CHC is IV, thus
the range of 70-87 months applies.

                                        3
 Case 1:06-cr-00254-JHR   Document 28       Filed 01/09/09   Page 4 of 5 PageID: 87



84 months, the lowest point within the then-applicable advisory

guidelines range.     After considering the pertinent factors,3 the

Court now exercises its discretion to resentence him to a prison

term of 70 months, a proportional adjustment to the lowest point

within the now-applicable advisory guidelines range.4

                                    III.

      For the reasons set forth above, the Court will grant




      3
        Those factors included: (1) the 18 U.S.C. § 3553(a) factors consistent
with § 3582(c)(2); (2) public safety considerations; and (3) defendant’s
post-sentencing conduct. Application Note 1(B), U.S.S.G. §1B1.10.

      4
        The Court will only briefly touch upon Williams’s argument that he
should be granted a downward variance from the amended advisory guideline
range based on his post-incarceration good behavior. As explained by the
Third Circuit, “the scope of a sentencing court’s inquiry under section
3582(c)(2) is limited to consideration of a retroactive amendment to the
Sentencing Guidelines; section 3582(c)(2) does not entitle a defendant to a
full de novo resentencing.” United States v. Swint, 251 F.App’x 765, 768 n.1
(3d Cir. 2007) (citing United States v. McBride, 283 F.3d 612, 615-16 (3d Cir.
2002)). U.S.S.G. §1B1.10(b)(2)(A) expressly precludes granting a downward
variance from the Guidelines range to an inmate during a § 3582(c)(2)
resentencing, when no such variance was granted at original sentencing.
United States v. Lloyd, 469 F.3d 319 (3d Cir. 2006), which involved a Booker
remand, is not to the contrary. On a Booker remand the issues considered by
the resentencing court are broad and include consideration of issues not
addressed at a defendant’s original sentencing; the issues presented by a §
3582(c)(2) resentencing are much more narrow. It was only in the broad
context of a Booker remand that the Third Circuit preserved the possibility of
an unusual case where post-sentencing rehabilitation efforts could be
considered at resentencing. See Lloyd, 469 F.3d at 324-25. Thus, while post-
sentencing conduct may be relevant to deciding whether any relief is merited
under § 3582(c)(2), good behavior in prison cannot be the basis for a downward
variance from the amended advisory guideline range in the context of a §
3582(c)(2) resentencing.


                                        4
Case 1:06-cr-00254-JHR    Document 28       Filed 01/09/09   Page 5 of 5 PageID: 88



Williams’s Motion and reduce his term of incarceration from 84

months to 70 months.      The Court will issue an appropriate Order.


Dated:   January    9th    , 2009


                                              s/ Joseph E. Irenas
                                             JOSEPH E. IRENAS, S.U.S.D.J.




                                        5
